      Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 1 of 36



APPENDIX J




Monaco case – deposition of office manager




                                        96
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 2 of 36
                                                                         1

 1              BEFORE THE WYOMING BOARD OF MEDICINE

 2
 3      JAMES A. ANDERSON, M.D., ) OAH Docket No.
        and RAY JOHNSON, PA-C,   ) 12-110-052
 4                               ) Docket No. 12-08
                    Petitioners, )
 5                               ) VIDEO DEPOSITION
              vs.                )
 6                               )
        JOHN H. SCHNEIDER, JR., )         OF
 7      M.D.,                    )
                                 )
 8                  Respondent. )     LISA PARKER

 9
                                  1739 Spring Creek Lane
10                                Billings, Montana
                                  August 27, 2012
11
        APPEARANCES:
12
                     WILLIAM G. Hibbler
13                   BILL G. HIBBLER, P.C.
                     P. O. Box 2143
14                   Cheyenne, Wyoming 82003-2143

15                            For the Wyoming Board
                              of Medicine.
16
                     Stephen H. Kline
17                   KLINE LAW OFFICE, P.C.
                     P. O. Box 1938
18                   Cheyenne, Wyoming 82003-1938
                            -and-
19                   Stephenson D. Emery, Esq.
                     WILLIAMS, PORTER, DAY & NEVILLE
20                   P. O. Box 10700-3902
                     Casper, Wyoming 82602
21
                              For the Respondent.
22
                     Also present: Connie Schepp
23                                 Joel Hageman,
                                    Videographer
24
25



                  BIG SKY REPORTING - FRANCES L. MOCK
          (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    97
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 3 of 36
                                                                         2

 1                   The video deposition of LISA PARKER,

 2      produced, sworn and examined upon her oath on

 3      the 27th day of August, 2012 commencing at

 4      6:35 p.m., at 1739 Spring Creek Lane, Billings,

 5      Montana, before me, Frances L. Mock, a

 6      free-lance shorthand reporter, a Notary Public

 7      within and for the State of Montana, pursuant to

 8      notice and the Wyoming Rules of Civil Procedure,

 9      for the examination of the said LISA PARKER, a

10      witness called for examination by the Respondent

11      herein, in a certain suit and matter in

12      controversy now pending and undetermined before

13      the Wyoming Board of Medicine, being OAH

14      Docket No. 12-110-052, Docket No. 12-08.

15
16
17
18
19
20
21
22
23      "mm-hmm" is yes

24      "huh-uh" is no

25



                  BIG SKY REPORTING - FRANCES L. MOCK
      (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    98
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 4 of 36
                                                                         3

 1                         I N D E X

 2                                                     Page

 3      Examination by Mr. Kline                         5

 4      Examination by Mr. Hibbler                      17

 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25



                  BIG SKY REPORTING - FRANCES L. MOCK
      (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    99
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 5 of 36
                                                                         4

 1                MR. HAGEMAN:   Let the record show that

 2      this is the videotape deposition of Lisa Parker

 3      in the matter of James A. Anderson, M.D. and

 4      Ray Johnson, PA-C, Petitioners, versus John H.

 5      Schneider, Jr., M.D., Respondent, before the

 6      Wyoming Board of Medicine, OAH Docket

 7      No. 12-110-052, Docket No. 12-08 (Formerly

 8      Complaint No. 504).

 9                The date today is August 27th, 2012.

10      The time on the video monitor is 6:35 p.m.

11                My name is Joel Hageman.    I'm the

12      videotape operator today.

13                Our court reporter today is Fran Mock.

14                Counsel, please voice identify

15      yourselves and state whom you represent.

16                MR. KLINE:   This is Steve Kline here on

17      behalf of Dr. Schneider.

18                MR. EMERY:   My name is Steve Emery.    I

19      represent Dr. Schneider.

20                MR. HIBBLER:   And Bill Hibbler,

21      representing the Wyoming Board of Medicine.

22                MR. HAGEMAN:   Would the reporter please

23      swear the witness.

24      //

25      //




                  BIG SKY REPORTING - FRANCES L. MOCK
      (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    100
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 6 of 36
                                                                         5

 1                      LISA PARKER,

 2      having been first duly sworn to state the truth,

 3      the whole truth, and nothing but the truth,

 4      testified upon her oath as follows:

 5                      EXAMINATION

 6      BY MR. KLINE:

 7            Q.   Can you please give us your name and

 8      office address?

 9            A.   Lisa Mary Parker.        Office address is

10      1739 Spring Creek Lane, Suite 200, Billings,

11      Montana    59102.

12            Q.   Okay.

13                 Ms. Parker, have you ever had a

14      deposition taken before?

15            A.   I have not.

16            Q.   Do you think you understand the process

17      we're going through here today?

18            A.   I do.

19            Q.   If you have any questions as we go

20      along, make sure you ask us, or ask me to repeat

21      anything you don't understand because we're

22      going to assume that if you give us an answer,

23      that you understood the question.

24                 Fair enough?

25            A.   Okay.




                   BIG SKY REPORTING - FRANCES L. MOCK
      (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                      101
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 7 of 36
                                                                         6

 1            Q.    Ms. Parker, how are you employed?

 2            A.    I'm a salaried employee.

 3            Q.    I guess, but whose employee?

 4            A.    Northern Rockies NeuroSpine, Dr. John

 5      Schneider.

 6            Q.    How long have you been employed by

 7      Northern Rockies NeuroSpine and Dr. Schneider?

 8            A.    About two years.

 9            Q.    What is your present job?

10            A.    I'm the office manager.

11            Q.    And you are located here in Billings?

12            A.    I am now.

13            Q.    You have not always been located in

14      Billings?

15            A.    No.

16            Q.    So, where did you work before that?

17            A.    I traveled back and forth between

18      Billings office and the Cody office in Wyoming.

19      And when we had clinics, that's when I would be

20      down in Cody.

21            Q.    Tell us about the office that

22      Dr. Schneider had there in Cody.       Where was it

23      located?

24            A.    I'm not sure of our exact address down

25      there.     I drive by it every time I go to




                   BIG SKY REPORTING - FRANCES L. MOCK
      (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                       102
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 8 of 36
                                                                         7

 1      Walmart, but I don't remember the address.

 2                 It's Yellowstone -- we were Suite 140

 3      down there, is what we were.       I think it's

 4      424 Yellowstone Avenue.

 5                 It's a small town.

 6            Q.   We better get this on the record.

 7                 You're not from Cody originally?

 8            A.   I am now, but I wasn't always.

 9            Q.   All right.

10                 You're relatively recent to the area?

11            A.   I am.

12            Q.   Was that office located on what I would

13      call the strip west of Cody?

14            A.   Yes.    It's called the West Strip.

15            Q.   Okay.

16            A.   Diagonal to Walmart.

17            Q.   And was it a -- was your office the

18      only office in that particular building?

19            A.   No.

20                 It's the Urgent Care Building.     It's

21      also call the Cathcart Building, and our office

22      was on the bottom floor around back.

23            Q.   Okay.

24                 And can you describe that office for

25      us?




                   BIG SKY REPORTING - FRANCES L. MOCK
      (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                     103
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 9 of 36
                                                                         8

 1            A.   We shared an office with two other

 2      doctors.    We each had our own specific date that

 3      we would see patients in there, and our day was

 4      Thursday typically, although sometimes we did

 5      see patients on other days down there.

 6            Q.   So, Thursday was typically the clinic

 7      day in Cody?

 8            A.   Yes.

 9            Q.   And were you in the office, then, every

10      Thursday?

11            A.   Every Thursday.

12            Q.   And describe that office setup, if you

13      would, please.

14            A.   When patients first came in the first

15      door, my front desk station was right at the

16      very first station.

17                 Then Dr. Winzenried's receptionist is

18      the next person in line.

19                 We had a whole line of employees that

20      worked there.

21                 And the third station was Dr. Frazier's

22      office station.

23                 And as patients went through the big

24      reception area through the door, there was like

25      a nursing station, which we didn't utilize.




                   BIG SKY REPORTING - FRANCES L. MOCK
      (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                     104
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 10 of 36
                                                                          9

 1       That wasn't anyplace where we sat.

 2                 But there is four operatories, or exam

 3       rooms, along the left side of that inner door,

 4       and there was one on the right-hand side on the

 5       -- next to the nurse's station.

 6                 Then there was a bathroom on the

 7       right-hand side, and then there's -- far corner

 8       was our office where Dr. Schneider, Harley and

 9       -- that's Harley Morrell -- and Teresa's

10       station was.   Only I took over Teresa's area

11       when I would go back there.

12            Q.   I'm going to draw your attention to the

13       week after Thanksgiving --

14            A.   Okay.

15            Q.   -- last year, 2011.

16                 Were you working that Monday?

17            A.   I was.

18            Q.   And where were you?

19            A.   I was here in this building.

20                 We had just moved here.

21            Q.   So you were in Billings?

22            A.   I was.

23            Q.   And who was in the office in Cody,

24       anyone?

25            A.   No one.




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    105
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 11 of 36
                                                                          10

 1            Q.   Do you remember receiving a phone call

 2       from Dr. Schneider on that Monday?

 3            A.   I do.

 4            Q.   And tell us what you recall about that

 5       phone call.

 6            A.   He asked me to patch him through to the

 7       Billings Clinic.

 8                 And with our phone system here, that's

 9       how I transferred it.    I hit "Transfer", an

10       outside line, and then I dialed the number.      And

11       then I hit "Transfer" again, and they're gone.

12            Q.   Was that something you did with

13       frequency for him?

14            A.   I did.   I still do.

15            Q.   Okay.

16                 And tell us the best you can recall

17       everything that was said in that phone

18       conversation between you and him.

19            A.   Between doctor and myself?

20            Q.   Correct.

21            A.   He asked me to patch him through to

22       Billings Clinic.

23                 I looked up the number.    And I dialed

24       the number with the preceding "Transfer, 9",

25       which is the outside line, and then the number,




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    106
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 12 of 36
                                                                          11

 1       and I hung up.

 2                 And then he called me back, I don't

 3       know, an hour or so later and said "Would you

 4       call again" -- because he wasn't able to get

 5       anybody -- "and leave a message."

 6                 I got busy, and I didn't do it.

 7            Q.   Do you remember what time the first

 8       call came?

 9            A.   No.

10            Q.   Do you have any --

11            A.   It was morning, if that helps.

12                 I don't recall the time.    That was a

13       long time ago.

14            Q.   Somewhere between 8 and 12?

15            A.   Yes.

16            Q.   I'm going to -- well, let me back up a

17       minute.

18                 Do you remember whether or not he gave

19       you the name of any particular part of the

20       clinic or a doctor or --

21            A.   I don't recall.

22            Q.   Let's fast forward to Thursday of that

23       week, which I believe was December 1st.

24            A.   Yes.

25            Q.   Did you -- or where were you on that




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                     107
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 13 of 36
                                                                          12

 1       day?

 2              A.   I was in Cody.

 3              Q.   Working a clinic?

 4              A.   We had clinic that morning.

 5              Q.   Did you receive a call from West Park

 6       Hospital that day?

 7              A.   I did.

 8              Q.   Tell us what you can remember about

 9       that phone call.

10              A.   The nurse on the other end of the line

11       said she was from West Park Hospital calling

12       about Russell Monaco, and she would like to talk

13       to either Harley or Dr. Schneider.

14              Q.   Okay.    Let me stop you there.

15                   Do you remember the name of that nurse?

16              A.   No.

17              Q.   Go ahead.

18              A.   When I get a call like that, I put them

19       on hold, because we have phones in the office,

20       too, and I walked to the back, which is quite a

21       ways, so I took advantage of getting a cup of

22       coffee, making my coffee, because I knew it was

23       about Kathy's husband, and I hung out and

24       listened.

25              Q.   Let me ask you first, did you -- when




                     BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                       108
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 14 of 36
                                                                          13

 1       you got a call like that, is there one of the

 2       two of those, either Dr. Schneider or

 3       Mr. Morrell, that you would typically patch

 4       through to first?

 5            A.    Well, primarily if doctor is available,

 6       I give it to him.    He is the doctor, and he

 7       would know the most.

 8                  But when he's not available, and they

 9       ask for either, I got Harley because he was the

10       only one in the office.

11            Q.    So you are saying that actually you

12       patched it through to Mr. Morrell that day?

13            A.    I walked back there, and he was the

14       only one in there, and I told him West Park is

15       on hold.

16            Q.    Was Dr. Schneider anywhere in that

17       area?

18            A.    He wasn't in the office.   He was in

19       with a patient.

20            Q.    In one of the exam rooms you had

21       described?

22            A.    Yes.

23            Q.    Okay.

24                  You said you got a cup of coffee?

25            A.    I did.




                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    109
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 15 of 36
                                                                          14

 1                  He was working on his computer when I

 2       first went in there.    He picked up the phone,

 3       and he said "Hold on a minute" and put the phone

 4       down to set it on the table while he finished

 5       typing whenever it was he was on the computer

 6       on, and then picked it back up.

 7                  And then he just said, "That oxygen

 8       level's fine.    He's good to go."

 9                  So, he -- when he got off the phone, he

10       said that, you know, the dis -- he discharged

11       Russ, because I asked him.

12                  I said, "Was that about discharging

13       Russell, because he said "he was good to go",

14       and he said yes.    And so he was off the phone at

15       that point, and I said, "Good.     Kathy will like

16       that."    She had been down there for almost a

17       week.

18            Q.    Anything else you remember about that

19       phone call?

20            A.    Not about the phone call.

21            Q.    Do you -- were you there in the coffee

22       area during the entire phone call?

23            A.    I was.

24            Q.    And where's the coffee area compared to

25       the setup that you described for us earlier?




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    110
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 16 of 36
                                                                          15

 1              A.   They have tables that look like

 2       U-shape, and they're all hooked together for

 3       their desk, and the coffee is directly behind on

 4       the other side of the room, which is a small

 5       room, right there where that H part would be.

 6       So, basically two feet.

 7              Q.   What role did Dr. Schneider play in

 8       that phone conversation?

 9              A.   He wasn't there at all.   He was in with

10       the patient.

11              Q.   And did Mr. Morrell get up, and go

12       consult with him?

13              A.   Not during that phone call.

14                   When Dr. Schneider came back in the

15       office in that cubicle area there where the two

16       of them sit, he said he released Russell Monaco,

17       and that's all he said.      And he went out to get

18       the next patient.

19              Q.   Who went out to get the next patient?

20              A.   Harley.

21                   MR. KLINE:   That's all I have.   Thank

22       you.

23                   Oh, wait.

24                   (Pause.)

25       BY MR. KLINE:




                     BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                      111
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 17 of 36
                                                                          16

 1            Q.   Do you remember any discussion during

 2       that phone call with West Park Hospital about an

 3       oxygen level?

 4            A.   Yes.

 5                 He told the nurse that the oxygen level

 6       was fine and to go ahead and discharge him.

 7            Q.   Do you remember any particular numbers?

 8            A.   I don't recall the numbers.

 9            Q.   Were there any other discussions about

10       that oxygen level?

11            A.   No.

12            Q.   Did you ever hear him discuss with

13       Dr. Schneider the oxygen level?

14            A.   No.    It went on business as usual.    We

15       saw patient after patient.

16                 MR. KLINE:    Now I'm done.    Thank you.

17                 THE WITNESS:    You're welcome.

18                        EXAMINATION

19       BY MR. HIBBLER:

20            Q.   Mrs. Parker, hello again?

21            A.   Hi.

22            Q.   My name is Bill Hibbler.      I'm with the

23       Wyoming Board of Medicine.

24                 In November -- let me ask it this way:

25                 Do you live in Billings now?




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                        112
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 18 of 36
                                                                          17

 1            A.    No.

 2            Q.    You live in Cody?

 3            A.    Yes.

 4            Q.    And how long have you lived in Cody?

 5            A.    I think the year was 1997 when I moved

 6       there.    Partway through the year.

 7            Q.    And when you worked in both Cody and in

 8       Billings for Dr. Schneider, I take it you

 9       commuted up to Billings?

10            A.    Not every day.

11            Q.    Okay.

12                  What was your schedule?

13            A.    It would vary.

14                  It depends on when our clinic was in

15       Cody and when we would come up here.

16                  Sometimes we would borrow a day from

17       one of the other doctors.      But the days that we

18       had clinic down there, no matter whether it was

19       a Tuesday or a Thursday, whatever the day

20       happened to be for clinic, I would go down there

21       for the clinic day.    Other than that, I worked

22       up here.

23                  It didn't start out that way, but

24       that's how it ended.

25            Q.    Is there someplace in West Park




                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                     113
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 19 of 36
                                                                          18

 1       Hospital that Dr. Schneider sees patients other

 2       than hospital patients?

 3            A.   Yes.

 4            Q.   And where would that be in the

 5       hospital?

 6            A.   I don't know.

 7            Q.   Then how do you know that he sees other

 8       patients?

 9            A.   Because we schedule him in between his

10       surgical patients.    We'll schedule quite often

11       in between, like during the consent time frame,

12       we will stick another patient in there for him

13       to look at.

14            Q.   But physical location-wise, you don't

15       have any idea where that occurs in West Park

16       Hospital?

17            A.   I don't go to the hospital very often.

18            Q.   Okay.

19                 What is your personal cell phone

20       number?

21            A.   (307) 899-0560.

22            Q.   Was that the same cell phone number you

23       had back in November of 2011?

24            A.   Yes.

25            Q.   And do you have a phone number here at




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                     114
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 20 of 36
                                                                          19

 1       the Omni that is different from the main phone

 2       number?

 3             A.   We have an extension.

 4             Q.   What is the phone number of the Omni?

 5             A.   (406) 651-8197.

 6             Q.   And if I wanted to call here and talk

 7       to you personally, is there a phone number that

 8       I can call to get right to your desk, or do I

 9       need to call the main number and get

10       transferred?

11             A.   In our phone system, you can call

12       directly into my phone.

13             Q.   Okay.

14                  And then what would that phone number

15       be?

16             A.   I don't know.

17                  There's a way to do it.   I don't recall

18       offhand.    I don't -- I -- I can't guess.    I

19       could go look.

20             Q.   Okay.

21                  What's your extension?

22             A.   Now is different than what it was.

23             Q.   What was it in November of 2011?

24             A.   I think it's 2770, is what it was.     I

25       could verify that for you, but I don't know that




                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                      115
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 21 of 36
                                                                          20

 1       offhand.

 2            Q.    Was the Omni open in November of 2011?

 3            A.    Yes.   We had just moved in right before

 4       Thanksgiving.

 5            Q.    Tell me what the check-in procedure was

 6       in November, in November/December, 2011 for a

 7       patient to check into Dr. Schneider's clinic in

 8       Cody?

 9            A.    They would walk through the door.   I'd

10       ask them pertinent information - their name,

11       their insurance.     I'd collect co-pays, if there

12       was any.    Verify their addresses, and run it

13       through the Nexgen system as -- it's called

14       AutoFlow.

15                  And you click on the AutoFlow, and it

16       brings you into the different screens.     Once

17       that's all the way through, a printout prints

18       out for the day for that appointment with the

19       patient's name and why they are here, time of

20       their appointment.

21                  And then they have a seat.   I look for

22       an open room, and I would take that patient, or

23       Harley, whoever got to it first, and take that

24       sheet of paper.

25                  And if the rooms are full, then I would




                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                     116
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 22 of 36
                                                                          21

 1       just take that paper, and we had like a -- kind

 2       of like a file system, kind of like that went

 3       down the wall that you would just put it -- the

 4       next person in up above the one before.

 5                  So, if you had two people waiting, and

 6       all the rooms were full, you'd have two pieces

 7       of paper from the bottom up, is how you take

 8       it.

 9                  So if they got done with a patient,

10       Harley or myself, or whatever, would room the

11       next person that's at the bottom of the list so

12       we would know that's the one that needs to be

13       taken next to a room.

14                  And then when the room -- when the

15       person was in there, then I'd notify Harley, or

16       he would see it, because he was always out and

17       about, and seeing that patients are ready, and

18       put them in the room.

19             Q.   Describe for me a little further, if

20       you would, this printout that comes out after

21       you enter all of the information.     What does it

22       have on it?

23             A.   I don't know exactly.

24                  I know it's got -- by memory, it's got

25       the date of the appointment, the patient's name,




                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    117
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 23 of 36
                                                                          22

 1       the time of appointment, the reason -- the

 2       details, the reason why they're there, and maybe

 3       who the provider was supposed to be.

 4                 Other than that, I don't know what else

 5       was on that.

 6            Q.   And that would be different from a

 7       history and physical, would it not?

 8            A.   Yes.

 9                 Those are used for a day only just to

10       show that the patient's there.     Then they're

11       shredded, because then the information of why

12       they are there gets put in the system by Harley

13       or the doctor.

14            Q.   What was the typical starting time of

15       clinic in Cody on those Thursdays back in late

16       2011?

17            A.   I believe we start -- started most

18       clinics down there at 8 o'clock, maybe 8:30.

19                 It depends on how the schedule went.

20       Sometimes we didn't have a patient scheduled

21       first thing, or they might have canceled.

22            Q.   And you mentioned that you take them

23       back, or if Harley gets the sheet or this.     You

24       mentioned Harley, and never -- or Mr. Morrell

25       and never mentioned Dr. Schneider.




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    118
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 24 of 36
                                                                          23

 1                 Is there a reason you're are mentioning

 2       Mr. Morrell as opposed to informing

 3       Dr. Schneider the patient is available?

 4            A.   Yeah, I wouldn't tell Dr. Schneider.

 5                 I do now.   Because Harley is not here.

 6       But I wouldn't tell Dr. Schneider first because

 7       Harley always saw the patient first.

 8                 So, if I roomed them, Harley would go

 9       right in there afterwards, after I got done with

10       them because he did his thing first, whatever he

11       does with the patients.    Probably vitals or

12       something.   I don't know.     I'm not a nurse.

13            Q.   When was the first time that you became

14       aware that Russ Monaco had surgery in Cody?

15            A.   I don't really recall.     Probably was

16       that Monday.

17            Q.   What is the office policy on informing

18       the office that an employee is not going to be

19       in the office on a particular day for work?

20            A.   Well, I believe they're supposed to

21       call me or -- now, me or Teresa.      Because I'm

22       the office manager, they're supposed to let me

23       know.

24            Q.   And do you recall who contacted you to

25       let you know that -- or let me ask it this way:




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                      119
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 25 of 36
                                                                          24

 1                 Did Kathy Monaco contact you on Monday

 2       to let you know she wasn't going to be in on

 3       November 28th; that she wasn't going to be in

 4       the office?

 5            A.   I don't think so.

 6            Q.   When did you first learn that she

 7       wasn't going to be in the office on Monday,

 8       November 28th?

 9            A.   When she was not here, and I was.

10            Q.   Do you recall having a telephone

11       conversation with her that day?

12            A.   I don't recall having one.

13            Q.   Do you remember the first time that you

14       spoke with her concerning her husband's surgery?

15            A.   No, I don't remember.

16            Q.   On Sunday, November 27th, did the

17       Monacos stay at your house overnight?

18            A.   They did not.

19            Q.   Now, you said that when the phone

20       call came in from the nurse at West Park on

21       December 1st, the date of Mr. Monaco's

22       discharge, that you put the nurse on hold.

23                 What was the reason for that?

24            A.   Because it's a long way from my desk

25       where I sat to the office, and if there's any




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    120
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 26 of 36
                                                                          25

 1       patients around, you always want to put them on

 2       hold.   You don't want information from the

 3       office going through a phone line.

 4            Q.   Okay.

 5                 Explain that.   What patient?

 6            A.   When you have an open phone, and you

 7       just lay it down, number one, they couldn't have

 8       been able to pick up the phone in the office

 9       and, number two, if somebody walks in, says who

10       their name is to somebody else, that

11       information's floating in the air.

12                 For HIPAA reasons, you can't leave that

13       phone like that.   You have to put them on hold.

14            Q.   Why isn't it that you didn't just

15       transfer the phone back to Mr. Morrell?

16            A.   Because I was getting a cup of coffee,

17       and I knew it was around -- it was about Russ,

18       because they told me that.

19            Q.   And during this conversation with this

20       nurse and Mr. Morrell, you had time to make

21       coffee; is that correct?

22            A.   It was already in process, because I

23       make it first thing in the morning, and so I was

24       mixing my creamer and my coffee all together.

25            Q.   And where were you when you heard this




                   BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    121
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 27 of 36
                                                                          26

 1       conversation about oxygen?

 2            A.    Standing between, what?    Three feet

 3       from Harley.

 4            Q.    But you weren't making your coffee at

 5       the time?

 6            A.    Yes, I was.

 7            Q.    So the coffee maker was within three

 8       feet proximity of where Mr. Morrell was taking

 9       the phone call?

10            A.    That's correct.

11            Q.    Was it in the same room?

12            A.    Yes.

13            Q.    And you said that Mr. Morrell put the

14       phone down for a period of time during the phone

15       call?

16            A.    Very short time.

17            Q.    And then he continued to type on his

18       computer?

19            A.    Yes.

20            Q.    And then he picked the phone back up?

21            A.    Yes.

22            Q.    And when did the oxygen conversation

23       take place, during the time before he put the

24       phone down or the time after he picked the phone

25       back up?




                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                       122
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 28 of 36
                                                                          27

 1              A.   After.

 2              Q.   And what was the conversation before he

 3       put the phone down?

 4              A.   I don't recall exactly when the phone

 5       was picked up, put down.      It was a long time

 6       ago.

 7              Q.   Approximately how long would you

 8       estimate that phone call was?

 9              A.   That's a hard one to say.   Maybe -- I

10       don't know.     I wouldn't be able to guess.    I was

11       standing there, so it couldn't have been too

12       long.

13              Q.   Were you concerned that you were

14       overhearing patient confidential information

15       standing there?

16              A.   He's our patient at that point.    I

17       wasn't concerned.     I'm the office manager.      I

18       wouldn't say anything but within the confines of

19       our office.

20              Q.   Do you recall what time the phone call

21       came in?

22              A.   Not exactly.   Morning.

23              Q.   Do you remember if it was before

24       8 o'clock in the morning?

25              A.   No, it wouldn't have been before.




                     BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                      123
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 29 of 36
                                                                          28

 1            Q.    Why do you say that?

 2            A.    Because he wasn't there, and we didn't

 3       start clinic until 8.      I know we don't start

 4       clinic before 8.

 5            Q.    And are you positive you started clinic

 6       at 8 o'clock on that day?

 7            A.    Not exactly at 8, no, I'm not positive

 8       of that.

 9            Q.    But you are positive that Dr. Schneider

10       was already in seeing a patient?

11            A.    That I am, because --

12            Q.    I'm sorry, go ahead.

13            A.    Otherwise I would have given the call

14       to him.

15            Q.    How do you recall that he was already

16       seeing a patient?

17            A.    When I walked back there, he was

18       already in with a closed door, and he wasn't in

19       his office.

20            Q.    So when the call came in, did you know

21       he was in with a --

22            A.    Yes --

23            Q.    -- a patient?

24            A.    -- I did.

25            Q.    Do you recall the patient's name?




                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                      124
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 30 of 36
                                                                          29

 1              A.   No.

 2              Q.   Have you gone back to look at any of

 3       the office records to determine who the patient

 4       was?

 5              A.   No.

 6              Q.   Have you gone back to look at any of

 7       the office records related to the morning of

 8       December 1st since the death of Mr. Monaco?

 9              A.   No.

10              Q.   Do you have access to Mr. Monaco's file

11       in the office?

12              A.   I do.

13              Q.   When was the last -- have you ever

14       looked in his file?

15              A.   I haven't looked at it, but I've had to

16       print it for you.

17              Q.   Now, whose job would it have been to

18       provide those documents to the Board of

19       Medicine?

20              A.   That would be me.

21              Q.   Anybody else in the office?

22              A.   Teresa.

23              Q.   And who did participate in doing that,

24       yourself or both of you?

25              A.   Probably both of us.




                     BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                     125
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 31 of 36
                                                                          30

 1                  If it hadn't been for Kathy's -- being

 2       her husband, he would have been Kathy's job.

 3       She's medical records.

 4            Q.    The phone number for the Billings

 5       Clinic, did you look up to patch Dr. Schneider

 6       through?

 7            A.    I don't know.   It was one in the phone

 8       book.

 9            Q.    And I guess that was more my question.

10       I didn't want to know the exact number.

11                  Tell me how you went about determining

12       what number it would be that you dialed?

13            A.    I picked out Billings Clinic out of the

14       phone book and dialed that number.

15            Q.    How often has Dr. Schneider asked you

16       before to be patched to the Billings Clinic, if

17       ever?

18            A.    All the time.   I do that many times to

19       not just Billings Clinic, but to a lot of

20       people.    I do the same thing for patients that

21       need to talk to him, or pharmacies.

22            Q.    So, then your testimony is that

23       whenever you have patched, or been asked to

24       patch Dr. Schneider through to the Billings

25       Clinic, you dial just the main phone number,




                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                     126
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 32 of 36
                                                                          31

 1       correct?

 2            A.    Yes.

 3            Q.    And did you know where Dr. Schneider

 4       was calling you from when he asked to do that?

 5            A.    I don't recall.

 6                  MR. HIBBLER:   Steve, could I just have

 7       a moment with Connie?

 8                  MR. HAGEMAN:   We'll go off record.   The

 9       time is 7:08.

10                  (Whereupon, a short recess was taken.)

11                  MR. HAGEMAN:   We're back on the

12       record.    The time is 7:15.

13                  MR. HIBBLER:   Ms. Parker, that's all

14       the questions I have. Thank you very much.

15                  THE WITNESS:   Thank you.

16                  MR. KLINE:   And I don't have any

17       additional questions either, but I could have

18       before you take your mic off, but I don't.

19                  You have a right to read a copy of the

20       transcript that Fran will make of this --

21                  THE WITNESS:   Okay.

22                  MR. KLINE:   -- and there will be a

23       correction sheet attached.

24                  I'm not your attorney, but I would

25       recommend that you do that rather than waive




                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                      127
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 33 of 36
                                                                          32

 1       that to make sure that it's been taken down

 2       accurately what you said, and then if there are

 3       any additions or -- excuse me, corrections you

 4       need to make, make them on a Correction Sheet

 5       that she will provide.

 6                  THE WITNESS:   Okay.

 7                  MR. HAGEMAN:   This will conclude the

 8       deposition.    We'll go off the record.   The time

 9       is 7:16.

10                  (Whereupon, the deposition was

11       concluded at 7:16 p.m.)

12
13
14
15
16
17
18
19
20
21
22
23
24
25



                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                     128
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 34 of 36
                                                                          33

 1                       DEPONENT'S CERTIFICATE

 2
 3                  I, LISA PARKER, the deponent in the

 4       foregoing deposition, DO HEREBY CERTIFY that I

 5       have read the foregoing 32 pages of the

 6       typewritten transcript, and that the same is,

 7       with any changes made in ink by me on the

 8       Correction Sheet, a full, true and correct

 9       transcript of my oral testimony given at the

10       time and place hereinbefore mentioned.

11
12
13
                                        LISA PARKER
14
            STATE OF MONTANA   )
15                             :      ss.
         County of Yellowstone )
16
17                     Subscribed and sworn to before me by

18       the said

19                     LISA PARKER,

20       this       day of                    , 2012.

21
22
23                           Printed Name:
                             Notary Public, State of Montana
24                           Residing in Billings, Montana
                             My Commission Expires:        .
25



                    BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                      129
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 35 of 36
                                                                          34

 1                     C O R R E C T I O N S

 2       Page   Line                      Correction

 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
                                          LISA PARKER
25



                  BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    130
     Case 1:17-cr-00077-SPW Document 58-10 Filed 09/04/18 Page 36 of 36
                                                                          35

 1                         CERTIFICATE

 2
 3          STATE OF MONTANA   )
                               : ss.
 4       County of Yellowstone )

 5                   I, Frances L. Mock, a free-lance
         shorthand reporter, a Notary Public in and for
 6       the State of Montana, do hereby certify that
         previous to the commencement of the examination
 7       of the said LISA PARKER, a witness called for
         examination by the Respondent in the said suit
 8       before the said Wyoming Board of Medicine, being
         OAH Docket No. 12-110-052, Docket No. 12-08
 9       (Formerly Complaint No. 504), was duly sworn by
         me to testify the truth in relation to the
10       matters in controversy now pending and
         undetermined between the said parties so far as
11       she should be interrogated concerning the same;

12                   That this deposition was taken in
         shorthand by me at 1739 Spring Creek Lane,
13       Suite 200, Billings, Montana, on the 27th day of
         August, 2012, commencing at 6:03 p.m., and was
14       reduced to typewritten form by me;

15                   That the foregoing is a true
         transcript of the questions asked, the testimony
16       given and the proceedings had;

17                   That I am neither attorney nor
         counsel, nor in any way connected with any
18       attorney or counsel for any of the parties to
         said action or otherwise interested in its
19       event.

20                   IN WITNESS WHEREOF, I have hereunto
         set my hand and affixed my notarial seal this
21       1st day of September, 2012.

22                    My commission expires December 19,
         2015.
23
24
25



                  BIG SKY REPORTING - FRANCES L. MOCK
       (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                    131
